                                                Case 3:24-cv-09019-AMO                                    Document 28             Filed 12/19/24                   Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                          CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                               Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Camille Simmons                                                                  (213) 610-2574                                                            camille.simmons@wilmerhale.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Sonal Mehta                                                                       (650) 858-6000                                                           Sonal.Mehta@wilmerhale.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                  5. CASE NAME                                                                              6. CASE NUMBER
2600 El Camino Real, Suite 400                                                                              BIT GLOBAL DIGITAL LIMITED v. COINBASE GLOB 3:24-cv-09019
Palo Alto, California 94306
                                                                                                           8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ FTR                                        ޫ APPEAL           ޫ CRIMINAL         ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Stephen Franklin                                                                                           ޫ NON-APPEAL       ✔ CIVIL
                                                                                                                              ޫ                  CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                          b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                             c.        DELIVERY TYPE ( Choose one per line)
                                                                                                   with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                     PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)    specify portion (e.g. witness or time)

12/18/2024          AMO              TRO                                                       {           {           {          {           {           {             {         {          {         {            {          {
                                                                                           ●




                                                                                                                                                                                              ●
                                                                                               {           {           {          {           {           {             {         {          {         {            {          {
                                                                                               {           {           {          {           {           {             {         {          {         {            {          {
                                                                                               {           {           {          {           {           {             {         {          {         {            {          {
                                                                                               {           {           {          {           {           {             {         {          {         {            {          {
                                                                                               {           {           {          {           {           {             {         {          {         {            {          {
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                              12. DATE
11. SIGNATURE
                 /s/ Sonal Mehta                                                                                                                                                  12/19/2024


         Clear Form                                                                                                                                                                          Save as new PDF
